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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 SYNERGEN INC., a Michigan
 Corporation,

       Plaintiff,                         Case No. 2:16-cv-11842
                                          Honorable Matthew F. Leitman
 vs.                                      Magistrate R. Steven Whalen

 FCA US LLC (f/k/a Chrysler Group,
 LLC), a Delaware limited liability       SPECIAL DISCOVERY MASTER'S
 company,                                  SECOND RULE 53 REPORT AND
                                               RECOMMENDATION
       Defendant.                             REGARDING CERTAIN
                                              DISCOVERY DISPUTES

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   SPECIAL DISCOVERY MASTER'S FIRST RULE 53 REPORT AND
 RECOMMENDATION REGARDING CERTAIN DISCOVERY DISPUTES
       Pursuant to the Court’s March 28, 2017 Order Appointing Special Master

 for Resolving Discovery Dispute (the “Order”), the Special Discovery Master,

 Retired Judge Richard P. Hathaway, submits his Second Rule 53 Report and

 Recommendation Regarding Certain Discovery Disputes (“Rule 53 Report”),

 which is attached as Exhibit 1 hereto. (Dkt. 60, ¶ 6.) In addition, as required by

 the Court’s Order, attached as Exhibits 2 through 9 are the original motions,

 responses, reply briefs, and supplemental briefs (without exhibits due to size)

 submitted by the parties relating to the discovery disputes that are the subject of

 my Second Rule 53 Report. A full list of all documents attached hereto is as

 follows:

            1. Second Rule 53 Report;

            2. Plaintiff/Counter-Defendant Synergen, Inc.’s and Third-Party
               Defendant UUSI, LLC d/b/a Nartron Corporation’s Motion to Quash
               the May 9, 2017 Subpoenas Issued to Non-Parties JVIS
               Manufacturing LLC and JVIS-USA, LLC (“Motion to Quash”) dated
               May 11, 2017;

            3. FCA US LLC’s Response to Synergen / Nartron’s Motion to Quash
               dated May 25, 2017;

            4. Synergen / Nartron’s Reply Brief in Support of Motion to Quash
               dated June 1, 2017;

            5. Synergen / Nartron’s Supplemental Brief in Support of Motion to
               Quash dated June 14, 2017;



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          6. FCA US LLC’s Supplemental Response Brief in Opposition to
             Motion to Quash dated June 16, 2017;

          7. Synergen / Nartron’s Supplemental Brief in Support of Motion to
             Quash and Opposition to FCA US, LLC’s Premature Request for
             Ruling on Objections to Discovery Requests Dated June 9, 2017 For
             Which No Formal Response is Even Due; and Proposed Preliminary
             Ruling of Discovery Master – Dated July 10, 2017.

          8. FCA US LLC’s Second Supplemental Brief in Opposition to Motion
             to Quash dated July 10, 2017; and

          9. FCA US LLC’s Proposed Preliminary Ruling of Special Discovery
             Master dated July 10, 2017.

I anticipate additional Rule 53 Reports being issued relating to outstanding

discovery issues.



                                       By: /s/ Richard P. Hathaway
                                         SPECIAL DISCOVERY MASTER
                                         RETIRED JUDGE RICHARD P.
                                         HATHAWAY
 Dated: August 7, 2017




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                         CERTIFICATE OF SERVICE
        I hereby certify that on August 7, 2017, counsel for FCA US LLC e-filed
 this document and supporting exhibits with the Court’s e-file system, which shall
 provide notice to all parties.



                                            /s/ Jennifer B. Chilson
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